Schedule of Petty Cash / Safe Account Ledgers
Jarvis, Dana

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11/13/1998 $10,000.00 N-187 329
11/20/1998 $7,000.00 N-187 329

11/25/1998 $3,000.00 N-187 330

12/01/1998 $3,000.00 N-187 188

12/04/1998 $2,000.00 N-187 189

12/04/1998 $75.00 N-187 189

12/04/1998 $1,000.00 N-187 330

12/11/1998 $2,000.00 N-187 191

12/11/1998 $42.00 N-187 191
12/12/1998 $2,000.00 N-187 192

12/18/1998 $1,000.00 N-187 193

12/18/1998 $1,000.00 N-187 330

12/31/1998 $2,000.00 N-187 195

12/31/1998 $2,000.00 N-187 331

$12,117.00 $24,000.00 $36,117.00

01/06/1999 $698.05 N-187 195

01/08/1999 $1,000.00 N-187 196

01/08/1999 $3,000.00 N-187 331

01/10/1999 $1,000.00 N-187 197|$660-rent, $340 added in
01/16/1999 $2,000.00 N-187 198

01/16/1999 $3,000.00 N-187 332

01/19/1999 $1,550.00 N-187 332

01/22/1999 $6,000.00 N-187 334

01/28/1999 $2,000.00 N-187 200

01/28/1999 $3,000.00 N-187 333

01/29/1999 $400.00 N-187 335

02/02/1999 $3,000.00 N-187 337

02/09/1999 $2,000.00 N-187 202

02/09/1999 $3,000.00 N-187 336

02/16/1999 $1,000.00 N-187 202

02/18/1999 $2,000.00 N-187 203

02/23/1999 $7,000.00 N-187 341

03/02/1999 $2,000.00 N-187 204

GOVERNMENT
EXHIBIT

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Date

Schedule of Petty Cash / Safe Account Ledgers
Jarvis, Dana

03/02/199 $1,200.00 Petty Cash Ledger N/A
03/02/1999 $5,000.00 Petty Cash Ledger N/A
03/08/1999 $6,000.00 N-187 Petty Cash Ledger N/A
03/11/1999 $3,000.00 N-187 Petty Cash Ledger N/A
03/19/1999 $3,000.00 N-187 Petty Cash Ledger N/A
03/26/1999 $2,000.00 N-187 Petty Cash Ledger N/A
04/04/1999 $5,000.00 N-187 Petty Cash Ledger N/A
04/08/1999 $5,000.00 N-187 Petty Cash Ledger N/A
04/17/1999 $2,000.00 N-187 Petty Cash Ledger N/A
04/21/1999 $3,000.00 N-187 Petty Cash Ledger N/A
04/28/1999 $6,000.00 N-187 Petty Cash Ledger N/A
05/04/1999 $3,000.00 N-187 Petty Cash Ledger N/A
05/04/1999 $1,000.00 N-187 Petty Cash Ledger N/A
05/07/1999 $5,000.00 N-187 Petty Cash Ledger N/A
05/12/1999 $3,000.00 N-187 Petty Cash Ledger N/A
05/17/1999 $3,000.00 N-187

05/17/1999 $5,000.00 N-187

05/20/1999 $5,000.00 N-187

05/24/1999 $2,000.00 N-187

05/24/1999 $3,000.00 N-187

05/30/1999 $4,000.00 N-187

06/04/1999 $2,000.00 N-187 362, 509|Check to Cash from BofA ...2936 Check #1478
06/04/1999 ($2,000.00) N-187 362, 509|Check to Cash from BofA ...2936 Check #1478
06/04/1999 $1,000.00 N-187 364) Petty Cash Ledger N/A
06/04/1999 $8,000.00 N-187 364/Petty Cash Ledger N/A
06/07/1999 $1,000.00 N-206 1

06/07/1999 $2,000.00 N-206 1

06/14/1999 $4,000.00 N-187 366|Petty Cash Ledger N/A
06/16/1999 $87.00 N-206 4

06/17/1999 $4,000.00 N-187 369) Petty Cash Ledger N/A
06/17/1999 $15,000.00 N-187 369|Petty Cash Ledger N/A
06/17/1999 $900.00 N-206 5

07/06/1999 $15,000.00 N-187 371

07/15/1999 $2,000.00 N-187 [| __—-214

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Schedule of Petty Cash / Safe Account Ledgers
Jarvis, Dana

07/19/1999 $3,000.00 N-187 370
07/20/1999 $9,900.00 N-187 373
08/10/1999 $2,000.00 N-187 219
08/11/1999 $4,000.00 N-187 327
08/17/1999 $5,000.00 N-187 327
08/24/1999 $10,000.00 N-187 325
08/25/1999 $150.00 N-187 223
09/03/1999 $5,000.00 N-187 324
09/08/1999 $5,000.00 N-187 323
09/14/1999 $10,000.00 N-187 321
09/21/1999 $5,000.00 N-187 320
09/24/1999 $10,000.00 N-187 319
09/29/1999 $150.00 N-187 235
09/29/1999 $500.00 N-187 236
09/30/1999 $5,000.00 N-187 316
10/05/1999 $500.00 N-187 237
10/05/1999 $5,000.00 N-187 316
10/06/1999 $5,000.00 N-187 315
10/13/1999 $5,000.00 N-187 314
10/20/1999 $5,000.00 N-187 313
10/25/1999 $280.00 N-187 242
10/26/1999 $5,000.00 N-187 312
11/02/1999 $8,200.00 N-187 310
11/09/1999 $10,000.00 N-187 307
11/12/1999 $5,000.00 N-187 308
11/19/1999 $10,000.00 N-187 251
11/19/1999 $1,000.00 N-187 251
12/04/1999 $228.18 N-187 254
12/07/1999 $15,000.00 N-187 302
12/16/1999 $5,000.00 N-187 299
12/23/1999 $500.00 N-187 260
12/23/1999 $15,000.00 N-187 298
12/29/1999 $675.00 N-187 262
$29,668.23 $313,250.00 $342,918.23

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01/04/2000 $500.00 N-187 261
01/08/2000 $600.00 N-187 263
01/11/2000 $2,000.00 N-187 294
01/13/2000 $1,000.00 N-187 264
01/18/2000 $10,000.00 N-187 294
01/29/2000 $1,798.75 N-187 292
01/31/2000 $2,000.00 N-187 292
02/01/2000 $10,000.00 N-187 291
02/08/2000 $8,100.00 N-187 290
02/15/2000 $10,000.00 N-187 286 &284
02/22/2000 $5,000.00 N-187 285
02/25/2000 $5,000.00 N-187 296
02/28/2000 $10,000.00 N-187 295
03/07/2000 $5,000.00 N-187 283
03/09/2000 $300.00 N-206 12
03/14/2000 $4,500.00 N-187 281
03/21/2000 $11,000.00 N-187 281 & 280
03/21/2000 $1,000.00 N-187 279
03/28/2000 $10,000.00 N-187 279
03/30/2000 $500.00 N-206 14
04/01/2000 $500.00 N-206 15
04/04/2000 $250.00 N-206 15
04/04/2000 $1,000.00 N-206 16
04/07/2000 $500.00 N-206 17
04/09/2000 $500.00 N-206 18
04/11/2000 $600.00 N-206 18
04/12/2000 $500.00 N-206 19
04/14/2000 $500.00 N-206 20
04/15/2000 $170.00 N-206 20
04/17/2000 $500.00 N-206 21
04/18/2000 $500.00 N-206 21
04/18/2000 $380.00 N-206 22
04/19/2000 $500.00 N-206 22
4

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Jarvis, Dana

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04/21/2000 $500.00 N-206 23
04/22/2000 $700.00 N-206 24|From Safe Acct, but don't have ledger for safe
04/25/2000 $1,000.00 N-206 25
04/27/2000 $500.00 N-206 26
04/28/2000 $500.00 N-206 27
05/01/2000 $300.00 N-206 27
05/01/2000 $500.00 N-206 28
05/03/2000 $100.00 N-206 29
05/04/2000 $200.00 N-206 29
05/05/2000 $400.00 N-206 29
05/06/2000 $200.00 N-206 30
05/08/2000 $200.00 N-206 30
05/09/2000 $900.00 N-206 31
05/11/2000 $300.00 N-206 32
05/12/2000 $300.00 N-206 33
05/13/2000 $305.00 N-206 33
05/13/2000 $100.00 N-206 33
05/15/2000 $560.00 N-206 34
05/16/2000 $500.00 N-206 34
05/19/2000 $500.00 N-206 36
05/22/2000 $500.00 N-206 36
05/23/2000 $500.00 N-206 37
05/26/2000 $300.00 N-206 38
05/27/2000 $140.00 N-206 39
05/30/2000 $700.00 N-206 39
06/03/2000 $407.00 N-206 40
06/04/2000 $580.00 N-206 40
06/07/2000 $500.00 N-206 41
06/08/2000 $100.00 N-206 41
06/09/2000 $500.00 N-206 42
06/09/2000 $500.00 N-206 42
06/13/2000 $1,000.00 N-206 43
06/16/2000 $200.00 N-206 44
06/19/2000 $7.00 N-206 44

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06/19/2000 $776.00 N-206 44
06/21/2000 $400.00 N-206 45
06/22/2000 $300.00 N-206 46
06/24/2000 $300.00 N-206 46
06/26/2000 $100.00 N-206 47
06/27/2000 $200.00 N-206 47
06/27/2000 $300.00 N-206 47
06/28/2000 $200.00 N-206 47
06/29/2000 $300.00 N-206 48
06/30/2000 $300.00 N-206 48
07/02/2000 $200.00 N-206 49
07/03/2000 $200.00 N-206 49
07/04/2000 $300.00 N-206 49
07/10/2000 $400.00 N-206 ‘51
07/10/2000 $500.00 N-206 51
07/13/2000 $100.00 N-206 52
07/14/2000 $200.00 N-206 52
07/14/2000 $500.00 N-206 53
07/17/2000 $200.00 N-206 53
07/18/2000 $613.00 N-206 53
07/19/2000 $200.00 N-206 54
07/21/2000 $990.00 N-206 54
07/25/2000 $1,500.00 N-206 55
07/26/2000 $995.00 N-206 56
07/27/2000 $2,000.00 N-206 72
07/28/2000 $200.00 N-206 57
07/29/2000 $300.00 N-206 57
07/29/2000 $1,000.00 N-206 58
08/01/2000 $2,000.00 N-206 72
08/08/2000 $1,500.00 N-206 73
08/14/2000 $1,500.00 N-206 73
08/16/2000 $200.00 N-206 63
08/22/2000 $1,500.00 N-206 74
08/28/2000 $200.00 N-206 67

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a . a a . # G .
08/29/2000 $1,500.00 75
09/04/2000 $200.00 75
09/05/2000 $110.00 66
09/05/2000 $1,500.00 75
09/11/2000 $ 1,500.00 71
09/12/2001 $ 50,000.00 89 Pg. 92 shows 10-1-2000
10/24/2001 $ 25,000.00 96|/Pg. 92 shows 10-1-2000
11/15/2001 $ 25,000.00 101|Pg. 92 shows 10-1-2000
12/18/2001 $ 25,000.00 105/ Pg. 92 shows 10-1-2000
$35,883.00 $233,598.75 $269,481.75
01/13/2001 $ 15,000.00 N-206 77|Pg. 86 note says Wed Feb 28 = 2001 year
01/29/2001 $ 2,760.00 N-206 80'Pg. 86 note says Wed Feb 28 = 2001 year
02/01/2001 $ 20,000.00 N-206 82|Pg. 86 note says Wed Feb 28 = 2001 year
02/26/2001 $ 10,000.00 N-206 85|Pg. 86 note says Wed Feb 28 = 2001 year
07/23/2001 $5,000.00 N-205 863) Other doc's in file were from 2001
08/07/2001 $4,000.00 N-205 863)Other doc's in file were from 2001
08/09/2001 $5,000.00 N-205 863) Other doc's in file were from 2001
08/18/2001 $5,000.00 N-205 868
08/21/2001 $3,000.00 N-205 868
08/24/2001 $5,000.00 N-205 863) Other doc's in file were from 2001
08/24/2001 $2,000.00 N-205 868
08/24/2001 $2,000.00 N-205 868
08/30/2001 $4,000.00 N-205 868
$35,000.00 $47,760.00 $82,760.00
01/08/2002 $72.00 N-205 42
01/14/2002 $300.00 N-205 43
01/21/2002 $300.00 N-205 45
01/28/2002 $300.00 N-205 44
02/04/2002 $100.00 N-205 44
02/06/2002 $120.00 N-205 34
02/1 1/2002 $60.00 N-205 34
02/18/2002 $35.00 N-205 34
7
‘02/25/2002

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Schedule of Petty Cash / Safe Account Ledgers
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11-15-06

03/11/2002 $85.00 N-205 33

10/01/2002 $100.00 N-205 19

10/01/2002 ($100.00) BofA ...2936 Check #3880

10/11/2002 $13.00 N-205 19

10/11/2002 $68.00 | N-205 19

10/11/2002 ($68.00) BofA ...2936 Check #3908

10/18/2002] $80.00 N-205 19

10/18/2002| ($80.00) [BofA ...2936 Check #3931

11/01/2002 | $100.00 N-205 15)

11/01/2002! ($100.00) { I |BofA ...2936 Check #3955

11/08/2002 | _ $98.00 N-205 15

11/08/2002 ($98.00) BofA ...2936 Check #3981

11/09/2002 $50.00 N-205 15

11/13/2002 $50.00 N-205 14

11/21/2002 $50.00 |N-205 14].

11/21/2002 ($50.00) BofA ...2936 Check #4018

11/29/2002 $87.00 | N-205 16

11/29/2002 ($87.00 | BofA ...2936 Check #4041

12/12/2002 $71.00 iL N-205 5

12/12/2002 ($71.00) __|BofA ...2936 Check #4077

12/19/2002 $75.00 N-205 5

12/19/2002 ($75.00) | BofA ...2936 Check #4092

12/27/2002 $75.00 N-205 | 5

12/27/2002 ($75.00) BofA ...2936 Check #4112
$1,585.00 $0.00 $1,585.00

01/09/2003 $75.00 N-203 938)

01/09/2003 ($75.00) [Check #4141 from BofA...2936

01/17/2003 $100.00 IN-203 938

02/07/2003 $100.00 N-203 942

02/07/2003 ($100.00) Check #4237 from BofA...2936

02/24/2003 $49.00 N-203 942!

02/24/2003 ($49.00) Check #4272 from BofA...2936

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03/21/2003 $200.00 | N-203 944
03/21/2003 ($200.00) [Check #4347 from BofA...2936
| 04/11/2003 $100.00 = —__|N-203 947]
04/11/2003 ($100.00) Check #4407 from BofA...2936
| 04/25/2003 $100.00 N-203 947
04/25/2003 ($100.00) Check #4449 from BofA...2936 |
06/13/2003 $100.00 N-203 | 952
06/13/2003 ($100.00) | Check #4559 from BofA...2936
| 07/06/2003 $100.00 N-203 | 1028
| 07/07/2003 ($100.00) Check #4620 from BofA. ..2936
| 08/22/2003 $100.00 N-203. | 1027) |
08/22/2003 ($100.00) Check #4734 from BofA...2936 |
$100.00 $0.00 $100.00
L LC L

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